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                                                                                United
                                                                               United   States
                                                                                      States   District Court
                                                                                             Bankruptcy  Court
                                                                                   Southern District of Texas

                                                                                      ENTERED
                         UNITED STATES DISTRICT COURT                             September 12,
                                                                                            13, 2024
                          SOUTHERN DISTRICT OF TEXAS                               Nathan Ochsner, Clerk
                              HOUSTON DIVISION

                                                §
                                                §
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                                                §
In re: GALLERIA 2425 OWNER, LLC                 § CIVIL ACTION NO. 4:24-cv-03198
                                                §
                                                §
                                                §

                                         ORDER

       Pending before the Court is an appeal from an order in the bankruptcy proceeding

number 24-03120. This instant appeal was entered August 27, 2024. The appellant has failed to

designate the items to be included in the record on appeal and a statement of the issues to be

presented. Bankr. R. 8006. Pursuant to the Court’s authority under Bankr. R. 8001(a), the Court

hereby dismisses this appeal for undue delay and failure to pursue this action. This Order

terminates the appeal.


IT IS SO ORDERED.

       SIGNED this 11th day of September, 2024.


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                                           HPP. ELLISON
                                      UNITED STATES DISTRICT JUDGE
